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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00113-CMA-GPG

UNITED STATES OF AMERICA,

             Plaintiff,

v.

1.    DEBRA CAMPBELL,

           Defendant.
______________________________________________________________________

ENTRY OF APPEARANCE OF FORFEITURE COUNSEL FOR THE UNITED STATES


To:   The clerk of court and all parties of record

      I hereby certify that I am a member in good standing of the bar of this court, and I

appear in this case as counsel for the United States of America.

      DATED this 7th day of November 2022.

                                                Respectfully submitted,

                                                COLE FINEGAN
                                                United States Attorney

                                            By: s/ Laura B. Hurd
                                                Laura B. Hurd
                                                Assistant U.S. Attorney
                                                U.S. Attorney’s Office
                                                1801 California Street, Suite 1600
                                                Denver, Colorado 80202
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                                                Attorney for the United States




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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of November 2022, I electronically filed the
foregoing with the Clerk of Court using the ECF system which will send notice to all
counsel of record.

                                               s/ Sheri Gidan
                                               FSA Paralegal
                                               Office of the U.S. Attorney




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